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                                                       Exhibit 7
                          Designations of Deposition Testimony of Adam Foltz (July 14, 2022)


               Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line           End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                  Objections                                            Objections
   22:7 (starting               22:20
    with “So”)
       22:25                    23:10
       23:14                     24:7
       24:12                    24:17
       28:3                     28:17
       28:25                     29:4
       29:11                    29:24
       37:18                    38:16
       40:16                     41:7
       50:20                     51:3
       55:15                    55:22
       55:25                     56:3
       56:12                    56:22
       59:5                     59:16
       61:11                    61:20
       62:23                63:19 (ending
                             with “yeah”)
       65:11                    66:14
       67:1                      68:4
       68:9                     68:11
       69:24                     70:7
       70:13                    70:18
       72:5                     72:12
       72:24                     73:2
       73:21                    74:11

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               Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line           End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                  Objections                                            Objections
        74:17                     75:2
        75:12                    75:22
        76:14                    76:22
        77:1                     77:12
        77:15                    77:18
        78:3                      78:6
        78:18                     79:2
        80:18                    80:24
        82:6                      83:2
        83:14                    83:18
        85:4                     85:16
        85:20                     86:6
        86:12                    86:14
        86:15                    86:18
        87:9                     87:21
        88:23                     89:2
        90:20                    90:24
   90:25 (starting                91:6
    with “And”)
        91:10                    91:14
        92:11                    93:11
        94:22                     95:9
        96:3                     97:18
   97:20 (starting               98:20
    with “you”)
        99:22                   100:10
       100:15                   102:14
        104:6                   104:19
        105:6                   105:19

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              Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                            Objections
      109:18                   110:23
        113:8              113:18 (ending
                             with “No.”)
       113:24                   114:7
       114:19                  114:24
       116:19                   117:4
       117:15                  117:23
       119:20                   120:1
      120:13                   120:17
      121:21                   121:25
        122:8                  122:17
        124:6                  124:13
  124:15 (starting             124:24
     with “so”)
        129:5                  129:14
      129:18                   129:24
        130:6                  130:13
        131:5                  132:14
        134:8                  134:14
      134:24                    135:8
      135:21                    136:3
        137:8                   137:9
      137:13                   137:17
        142:6                  142:17
        148:5                  148:16
       149:11                  149:19
      149:23                    150:5
      150:18                   151:18
        154:5                  154:11

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               Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line           End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                  Objections                                            Objections
      154:21                     155:2
      156:14                    156:21
      166:22                    167:15
      167:25                    168:16
       169:6                    169:23
       175:7                    175:15
       176:5                    176:13
      182:14                    183:10
      183:20                    184:15
      187:15                    189:20
      197:15                    197:23
        211:7                   211:12
       211:20                   211:25
       212:6                    212:23
       213:7                    213:16
      213:24                     214:8
      214:24                    215:14
       217:1                     219:1
   219:7 (starting              219:13
    with “And”)
   221:1 (starting              221:12
    with “Do”)
      221:23                     222:5
       223:6                    223:18
      226:14                     227:1
       230:1                    230:20
      239:25                    240:12
       263:7                    263:12
      263:15                     264:6

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